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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                             Case No. 3:22-cr-23-BJD-MCR

 AARON ZAHN.
 _______________________________/

                  DEFENDANT AARON ZAHN’S UNOPPOSED
                     MOTION TO CORRECT JUDGMENT

       Pursuant to Federal Rule of Criminal Procedure 35(a), Defendant Aaron Zahn

 respectfully moves for an Order correcting the Judgment entered in this cause.

 (Doc. 542), attached hereto as Exhibit A. The undersigned provided counsel for the

 Government, Assistant U.S. Attorney Tysen Duva, with a draft copy of the motion

 prior to filing, and the Government stated that it takes no position as to the motion.

       On July 30, 2024, the Court pronounced sentence in this matter. At Mr. Zahn’s

 request, the Court allowed him 90 days to report to the facility designated by the

 Bureau of Prisons (BOP). The Court also agreed to recommend to the BOP that

 Mr. Zahn be designated to FCI Pensacola and, “as a second choice” FCI

 Montgomery. (See Transcript Exhibit B).

       On August 1, 2024, the written Judgment was filed. Consistent with the oral

 pronouncement, the Judgment includes a recommendation for Mr. Zahn to be

 incarcerated at FCI Pensacola or FCI Montgomery but it does not reflect the Court’s

 recommendation that FCI Pensacola be considered as a first choice and FCI

 Montgomery as a second choice. (Doc. 542).

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       Similarly, the Judgment states, “[T]he defendant shall surrender for service of

 sentence at the institution designated by the Bureau of Prisons no later than 90 days

 from the date of sentencing, as notified by the United States Marshal.” In this regard,

 the Judgment is inconsistent with the Court’s oral pronouncement granting

 Mr. Zahn’s request that he be given 90 days before reporting to the designated facility.

 (See Exhibit B (emphasis added)).

       As a result of the foregoing, Mr. Zahn respectfully requests that the Court enter

 an Order correcting the Judgment to reflect the Court’s oral pronouncement

 recommending FCI Pensacola, as a first choice, FCI Montgomery, as a second choice,

 and allowing him 90 days before reporting to the designated facility.


                                         Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 12, 2024, a copy of this

 document was filed electronically. Notice of this filing will be sent by operation of the

 Court’s electronic filing system to all parties indicated on the electronic filing receipt.

 Parties may access this filing through the Court’s electronic filing system.

                                           /s/ A. Brian Albritton
                                           A. Brian Albritton
                                           Counsel for Aaron Zahn




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